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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                    Plaintiff,

                         –v.–                           Case No. 25-cv-00778-LLA

 SERGIO GOR, et. al.,

                    Defendants.




          [PROPOSED] ORDER GRANTING PERMANENT INJUNCTION AND
                   ENTERING JUDGMENT ON THE MERITS

       Upon consideration of Plaintiff Sara Aviel’s motion for summary judgment seeking a

permanent injunction and judgement on the merits, Plaintiff’s motion is GRANTED. It is hereby

ORDERED, ADJUDGED, and DECREED as follows:

       Plaintiff Sara Aviel was unlawfully terminated from her position as president and CEO of

the Inter-American Foundation (“IAF”). Defendants are permanently ENJOINED from removing

Sara Aviel from her position as president and CEO of the IAF, from denying her the benefits of

that position, and from otherwise obstructing her ability to carry out that position, absent a decision

by a lawfully constituted Board of the IAF. It is further

       ORDERED that Peter Marocco is enjoined from serving as an “acting” Board member of

the IAF and from carrying out the duties of that position in any way, shape, or form, absent a lawful

appointment under Article II of the United States Constitution and the Federal Vacancies Reform

Act, 5 U.S.C. § 3345 et seq. It is further
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          ORDERED that Defendants may not appoint Peter Marocco or any other individual as an

“acting” member of the IAF Board, and may not appoint Peter Marocco or any other individual as

a permanent member of the IAF Board, absent Senate confirmation. It is further

          ORDERED that any actions taken by Peter Marocco in his role as “acting” Board member

of the IAF—including, but not limited to, the removal of Ms. Aviel as president and CEO of the

IAF, the termination of any grants or other forms of agreements entered into by the IAF, and the

attempted reduction-in-force of the IAF’s employees—are void ab initio and without any legal

effect.

          SO ORDERED.



                                                    _______________________

                                                    LOREN L. ALKHAN
                                                    United States District Judge


Date: April ___, 2025




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